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    CITY OF NEW YORK
    DEPARTMENT OF CONSUMER AFFAIRS
    -----------------------------------------------------------------x    SECONI> AMENI>EI>
    DEPARTMENT OF CONSUMER AFFAIRS                                        NOTICE OF HEARING

                                        Complainant,

                      -against-
                                                                          Violation# LL005324075
    AZZAM ABDERRAHMAN
    1614 65TH ST                                                          License # 0820996
    BROOKLYN, NY 11204

                                        Licensee/Respondent.              (Process Server Individual)
    -----------------------------------------------------------------)(

    In accordance with the powers of the Commissioner ofthe New York City Department of
    Consumer Affairs ("the Department") set forth in Section 2203(±) of Chapter 64 of the
    Charter of the City of New York and Section 20-104 of the Administrative Code of the
    City ofNew York ("the Code"), YOU ARE HEREBY ORDEREI> TO APPEAR FOR
    A HEARING AT THE AI>JUI>ICATION TRIBUNAL OF THE DEPARTMENT
    OF CONSUMER AFFAIRS, 11TH FLOOR, 66 JOHN STREET, NEW YORK,
    NEW YORK 10038 AT 9:30 A.M. ON JANUARY 13, 2014 to have charges against
    you heard concerning violations of Chapter 1 of the Code, beginning at Section 20-101
    (known as the License Enforcement Law); Chapter 2 of the Code, Subchapter 23,
    beginning at Section 20-403 (known as the Process Servers Law); Title 6 of the Rules of
    the City of New York ("6 RCNY"), beginning at Section 1-01 (known as the License
    Enforcement Rules); and Title 6 of the Rules of the City of New York, Chapter 2,
    Subchapter W, beginning at Section 2-231 (known as the Process Servers Rules);


    AND SHOW CAUSE why your license to operate as an individual process server should
    not be suspended or revoked, why monetary penalties should not be imposed on you and
    why you should not be prohibited, based on lack of fitness, from holding any license
    issued by the Department on the grounds specified herein.
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                              FACTS AND APPLICABLE LAW

    1. Respondent, AZZAM ABDERRAHMAN, has been licensed by the Department as an

       individual process server under license number 0820996 since on or about May 3,

        1994.

    2. Respondent's current process server license will expire on February 28, 2014.

                              Signing False Affidavits of Service

    3. Respondent falsely affirmed in an affidavit of service that was filed in Queens County

        Supreme Court in the matter of Americredit Financial Services, Inc. v.

        (Index No. -         Queens County Supreme Court), that he had served a Summons

       With Notice at the defendant's place of residence on November 4, 2009 at 11:30 a.m.

       by substitute service upon ·-          RELATIVE."

    4. Respondent falsely affirmed in an affidavit of service that was filed in Queens County

       Civil Court in the matter of Discover Bank v.-            (Index No. -

       Queens County Civil Court), that he had served a Summons and Complaint at the

       defendant's place of residence on December 28, 2012 at 2:39p.m. by substitute

       service upon '              "

    5. Respondent falsely affirmed in an affidavit of service that was filed in Queens County

       Civil Court in the matter of Capital One Bank (USA), N.A. v.

       (Index No. -           Queens County Civil Court), that he had served a Summons

       and Complaint at the defendant's place of residence on December 24, 2012 at 12:51

       p.m. by substitute service upon



      - "
    6. Respondent falsely affirmed in an affidavit of service that was filed in Queens County

       Civil Court in the matter of Midland Funding LLC v.                       (Index No.


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       -              Queens County Civil Court), that he had served a Summons and

       Complaint at the defendant's place of residence on December 13, 2012 at 11 :33 a.m.

       by substitute service upon "-            RELATIVE of                              "

    7. Respondent falsely affirmed in an affidavit of service that was filed in Queens County

       Civil Court in the matter of Discover Bank v.                  (Index No. -

       Queens County Civil Court), that he had served a Summons and Complaint at the

       defendant's place of residence on October 16,2009 at 1:18 p.m. by substitute service

       upon                                RELATIVE."

    8. Respondent falsely affirmed in an affidavit of service that was filed in Queens County

       Civil Court in the matter of Capital One Bank (USA), N.A. v.

       (Index No. -             Queens County Civil Court), that he had served a Summons

       With Notice at the defendant's place of residence on November 4, 2009 at 11:30 a.m.

       by substitute service upon "-             CO-OCCUPANT

                        "

    9. Respondent falsely affirmed in an affidavit of service that was filed in Queens County

       Civil Court in the matter of Equable Ascent Financial, LLC v.

       (Index No. -             Queens County Supreme Court), that he had served a

       Summons and Complaint at the defendant's place of residence on September 26,

       2011 at 12:58 p.m. by substitute service upon'                     RELATIVE of

                                       "

                 Failure to Comply with Law Governing Service of Process

    10. Respondent failed to properly serve the defendant in the matter of American Express

       Centurion Bank v.                   Index No. -           Kings County Supreme Court) .




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    11. Respondent failed to properly serve the defendant in the matter of Discover Bank v.

                           (Index No. -               Kings County Civil Court).

    12. Respondent failed to properly serve the defendant in the matter of Taxi Club Two Cab

       Corp. v.                    (Index No. -              , Kings County Civil Court).

                                     GPS-Related Violations

    13. Pursuant to 6 RCNY § 2-233b(a)(1)(i), every process server licensed by the

       Department must obtain a mobile device, such as a telephone or personal digital

       assistant, that utilizes software that "make[s] an electronic record of the location

       where, and the time and date when, the record is made as determined by Global

       Positioning System ("GPS") technology or Assisted-Global Positioning System ("A-

       GPS") technology, and labels the record with the network date and time maintained

       by the mobile device, the DCA license number of the process server, the DCA license

       number of the process serving agency that has distributed the process for service, the

       name of the plaintiff or petitioner, the name of the defendant or respondent, the

       docket number (if any), the name of the person to whom process is delivered and a

       unique file identifier of the process being served.

    14. Pursuant to section 20-410 ofthe Code and 6 RCNY § 2-233b(a)(2)(i), on every

       occasion that a licensed process server attempts or effects service of process, the

       process server must ensure that the mobile device makes an electronic record of the

       GPS location, time and date of the attempted or effected service immediately after

       attempting or effecting service.

    15. Pursuant to 6 RCNY § 2-233b(a)(3), a licensed process server must enter into a

       contract with an independent third party to provide GP A data storage and retrieval

       services.


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    16. Respondent failed to include the following information in his GPS records:

               a.
               3/1/13@11:33                   of Person Served);
               b.
               3/2113 @ 9:48,              (Name ofPerson Served);
               c.
               3/2113@ 10:22,                    );
               d.
               3/2/13@      10:3o, llliilliilliill
               e.
               3/2/13 @ 11 :35,
               f.
               3/2113@      12:03, lliiiiiiiiii-
               g.
               3/2/13@ 12:39,
               h.
               3/4/13@ 10:09,
           1.  3/4/13 @ 10:49,
           J. 3/4113@ 11:15,                      arne ofPerson Served);
           k. 3/4/13 @ 11:39,               arne of Person Served);
           1. 3/4/13@ 15:27, ~arne ofPerson Served);
           m. 3/5/13@ 9:24, -      (Name ofPerson Served);
           n. 3/5/13 @ 11:15,             arne of Person Served);
           o. 3/5113@ 14:25,          (Name ofPerson Served);
           p. 3/6/13@ 12:02,             (Name of Person Served);
           q. 3/6113@ 14:36                   (Name ofPerson Served);
           r. 3/8/13@ 10:14,                 (City);
           s. 3/8/13@ 12:17,           (Name ofPerson Served);
           t. 3/8/13@ 13:55,                   (Name ofPerson Served);
           u. 3/9/13@ 10:24,                (Name ofPerson Served);
           v. 3/11/13@ 12:25,               (Name ofPerson Served);
           w. 3/11/13@ 12:35           (Name ofPerson Served);
           x. 3/11/13@ 13:51,    _        (Name ofPerson Served);
           y. 3113113@ 9:50, -       (Name of Person Served);
           z. 3/13/13@ 10:02,                 arne ofPerson Served);
           aa. 3/13/13@ 10:25,              (ZIP Code);
           bb. 3/16/13 @ 10:54,                of Person Served);
           cc. 3/16/13 @ 11 :46,                (N arne of Person Served); and
           dd. 3/20/13 @ 11:16,                (Name of Person Served).

                                Electronic Recordkeeping Violations

    17. Pursuant to section 20-406.3 of the Code and 6 RCNY § 2-233a, a licensed process

       server is required to maintain records of service of process in an electronic format

       ("233a records").

    18. The 233a records must contain the following information in separate fields:

         (i)        name of the individual process server to whom service is assigned, which
                    will be entered as last name, first name;
         (ii)       the license number of the individual process server to whom service is
                    assigned, which will be specified as a seven digit number, where the first


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                    number shall be zero if the process server's license number is less than seven
                    digits;
         (iii)      the title of the action or proceeding, if any;
         (iv)       the name of the person served, if known, which shall be entered as last
                    name, first name;
         (v)        the date that service was effected, which shall be entered as
                    MM/DD/YYYY;
         (vi)       the time service was effected, which shall be entered as military time;
         (vii)      the address where service was effected, which shall be entered as three
                    different fields such that one field will be for the street address and any
                    apartment number, the second field will be for the city or borough, and the
                    third field will be for zip code;
         (viii)     the nature of the papers served;
         (ix)       the court in which the action has been commenced, which shall be entered as
                    either Civil Court NYC, Civil Supreme, Criminal, Housing(LIT), or District
                    Court, followed by the county of the court, the judicial department if
                    appellate, or the federal district;
         (x)        the full index number, which shall be entered with all information necessary
                    to identify the case, such as XXXXX/XX, unless the case is a Civil Local
                    matter, in which case, it will include the prefix ofCV, CC, LT, MI, NC, RE,
                    SC, or TS;
         (xi)       if service was effected pursuant to subdivisions (1) through (3) of CPLR
                    §308, a description of the person served which shall consist of six fields,
                    including sex, hair color, approximate age, height, weight, and any other
                    identifying features provided by the process server;
         (xii)      whether service was delivered, as indicated by a Y or N;
         (xiii)     the type of service effected, which shall be entered as a P for personal
                    service, an S for substitute service, a C for conspicuous service, or a CO for
                    corporate service; and
         (xiv)      if service was effected pursuant to subdivision (4) ofCPLR §308 or
                    subdivision one ofRPAPL §735, a description ofthe door and the area
                    adjacent.

    19. Respondent failed to include the following information in his 233a records for the

       period November 30,2012, through January 2, 2013 and February 27,2013 through

       May 1, 2013:

           a.     12/3/12 @ 11:59,
           b.     12/3112@ 12:29,                                                   ity);
           c.     12/3112@ 12:4s,llliiiiiilliiiiiilliiiiiil
           d.     12/3112@ 13:19,
           e.     12/5/12@ 12:11,
           f.     12/5/12@ 13:55,                                   of Person Served);
           g.     12/7/12@ 9:21                                 City);
           h.     12/8112@ 13:31,                           (City);
           1.     12110112@ 11:53                       (City);
                                                       6
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           J. 12/10112@ 15:44,
           k. 12111112@ 11:59, • • • • •          1
           1. 12/11112@ 12:14,
           m. 12/11/12@ 12:21,
           n. 12/11112@ 13:04,
           0. 12111/12@ 13:17
           p. 12111112@ 13:28,
           q. 12/11/12@ 13:
           r. 12111/12@ 13:5
           s. 12/11112@ 14:
           t. 3/2/13 @ 10:24,               City);
           u. 3/4/13@ 10:51, -        (City);
           v. 3/8/13@ 10:17,                  (City);
           w. 3/11/13@ 11:21,             (Street Address);
           x. 3112/13@ 14:38,           Street Address);
           y. 3/16/13@ 12:05,               (Street Address);
           z. 3/20113@ 10:12,                Street Address);
           aa. 3/22/13@ 14:07,                    treet Address);
           bb. 3/26/13@ 12:51,                  Address);
           cc. 3/27/13@ 12:14,                   (Street Address); and
           dd. 3/27/13@ 12:14,                   (ZIP Code).

                                 Affidavit of Service Violations

    20. Pursuant to 6 RCNY § 2-235, an individual process server must maintain a copy of

       every affidavit of service for at least seven years in electronic form or as a paper

       copy.

    21. 6 RCNY § 2-235 also requires that an individual process server must include his

       license number on all affidavits of service that he signs.

    22. In addition, section 89-ff of The New York General Business Law requires that

       individual process servers must include on all affidavits of service that he signs the

       name and address of any process serving agency from whom he obtained the process

       for service. Pursuant to 6 RCNY § 2-234, this requirement applies to all individual

       process servers licensed by the Department.

    23. Respondent failed to include the process serving agency's address on the following

       affidavits of service:


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           a.   3/11/13@ 12:12 (                             );
           b.   3/11/13@ 13:31
           c.   3/11/13@ 14:34
           d.   3/12/13@ 11:36
           e.   3/12/13 @ 12:48 (
           f.   3/13/13@ 14:41
           g.   3/13/13@ 14:46
           h.   3/15/13@ 14:55
           1.   3/15/13@ 11:57                                     ; and
           J.   3/16/13 @ 9:51

                                       Logbook Violations

    24. Respondent failed to create a logbook entry for the following attempts or services:

           a.   12/28/12 @ 10:57
           b.   12/31/12@ 18:47
           c.   4/2/13@ 11:41
           d.   4/2/13@ 11:41                          and
           e.   4/2/13 @ 11 :43 ciiiiii


           a.
           b.
           c.
           d.
                12/5/12@ 14:52   c••······
    25. Respondent made improper corrections to the following entries in his logbooks:


                12111112@ 9:34 or 9:36
                12/11/12@ 9:34 or 9:36
                12/11/12@ 14:14 or 14:17
                                         (iiiiijiiiiilll•
           e.   12111/12 @ 14: 14 or 14: 17
           f.   12/13/12@ 10:08 or 10:09
           g.   12/24/12@ 11:55 -           ;and
           h.   3/8/13 @ 14:35

    26. Respondent failed to include in his logbook the type of service of effected for the

       following services:

           a. 12/3/2012@ 11:39                     ; and
           b. 12/5/2012@ 12:05




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                                             CHARGES

                       Charges 1-7: Signing False Affidavits of Service

    1. Respondent violated 6 RCNY § 2-234 by falsely affirming in an affidavit of service

       that was filed in Queens County Supreme Court in the matter of Americredit

       Financial Services, Inc. v.                       (Index No. -         Queens County

       Supreme Court), that he had served a Summons With Notice at the defendant's place

       of residence on November 4, 2009 at 11:30 a.m. by substitute service upon"~

       . ., RELATIVE." [1 count]

    2. Respondent violated 6 RCNY § 2-234 by falsely affirming in an affidavit of service

       that was filed in Queens County Civil Court in the matter of Discover Bank v. -

      - -Index No.                    Queens County Civil Court), that he had served a

       Summons and Complaint at the defendant's place of residence on December 28, 2012

       at 2:39p.m. by substitute service upon                       " [1 count]

    3. Respondent violated 6 RCNY § 2-234 by falsely affirming in an affidavit of service

       that was filed in Queens County Civil Court in the matter of Capital One Bank (USA),

       NA. v.                         (Index No. -                Queens County Civil Court), that

       he had served a Summons and Complaint at the defendant's place ofresidence on

       December 24,2012 at 12:51 p.m. by substitute service upon'-                     RELATIVE

       of                               " [1 count]

    4. Respondent violated 6 RCNY § 2-234 by falsely affirming in an affidavit of service

       that was filed in Queens County Civil Court in the matter of Midland Funding LLC v.

                           (Index No. -              ' Queens County Civil Court), that he had

       served a Summons and Complaint at the defendant's place of residence on December




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           13,2012 at 11:33 a.m. by substitute service upon"-              , RELATIVE of

                                      " [1 count]

     5. Respondent violated 6 RCNY § 2-234 by falsely affirming in an affidavit of service

        that was filed in Queens County Civil Court in the matter of Discover Bank v. -

       -            (Index No. -           Queens County Civil Court), that he had served a

           Summons and Complaint at the defendant's place of residence on October 16, 2009 at

           1: 18 p.m. by substitute service upon                               RELATIVE." [1

        count]

    6. Respondent violated 6 RCNY § 2-234 by falsely affirming in an affidavit of service

        that was filed in Queens County Civil Court in the matter of Capital One Bank (USA),

        NA.v.                           (Index No. -              Queens County Civil Court), that

        he had served a Summons With Notice at the defendant's place of residence on

        November 4, 2009 at 11 :30 a.m. by substitute service upon " -                CO-

        OCCUPANT of                                          " [1 count]

    7. Respondent violated 6 RCNY § 2-234 by falsely affirming in an affidavit of service

        that was filed in Queens County Civil Court in the matter of Equable Ascent

        Financial, LLC v.                              (Index No. -          Queens County

        Supreme Court), that he had served a Summons and Complaint at the defendant's

        place of residence on September 26, 2011 at 12:58 p.m. by substitute service upon

                             RELATIVE of                                       [1 count]

             Charges 8-10: Failure to Comply with Law Governing Service of Process

    8. Respondent violated 6 RCNY § 2-234 by failing to properly serve the defendant in

        the matter of American Express Centurion Bank v.                       (Index No.

        -            Kings County Supreme Court).


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     9. Respondent violated 6 RCNY § 2-234 by failing to properly serve the defendant in

        the matter of Discover Bank v. -                    Index No. -            Kings

        County Civil Court).

     10. Respondent violated 6 RCNY § 2-234 by failing to properly serve the defendant in

        the matter of Taxi Club Two Cab Corp. v.                     (JndexNo. -

        Kings County Civil Court).

                               Charge 11: GPS-Related Violations

     11. Respondent violated 6 RCNY §§ 2-233b(a) by failing to record the following

        information in his GPS records:

            a. 3/1113@ 11:33,                          of Person Served);
            b. 3/2/13@ 9:48,                         (Name of Person Served);
            c. 3/2113@ 10:22,   IIIIIIIIIIIIIIIII CCity);
            d. 3/2/13@ 10:30,                     (Name ofPerson Served);
            e. 3/2/13 @ 11 :3 5,                     arne of Person Served);
            f. 3/2/13@ 12:03,                    (Name ofPerson Served);
            g. 3/2/13@ 12:39,                    (Name ofPerson Served);
            h. 3/4113@ 10:09,                     (Name ofPerson Served);
           I.  3/4/13@ 10:49,                      );
           J. 3/4113@ 11:15,                           (Name of Person Served);
           k. 3/4/13@ 11:39,                         arne ofPerson Served);
           1. 3/4/13@ 15:27,                      arne ofPerson Served);
           m. 3/5113 @ 9:24,                       of Person Served);
           n. 3/5113@ 11:15,                       arne ofPerson Served);
           o. 3/5/13@ 14:25,                            ofPerson Served);
           p. 3/6/13@ 12:02,                     (Name ofPerson Served);
           q. 3/6113@ 14:36                                arne ofPerson Served);
           r. 3/8113@ 10:14,                             ity);
           s. 3/8/13@ 12:17,                   (Name ofPerson Served);
           t. 3/8113@ 13:55,                               arne ofPerson Served);
           u. 3/9/13@ 10:24,                        (Name ofPerson Served);
           v. 3/11/13@ 12:25                            arne ofPerson Served);
           w. 3/11/13@ 12:35,                  (Name of Person Served);
           x. 3/11/13 @ 13:51                     (Name ofPerson S~rved);
           y. 3/13/13@ 9:50,                           ofPerson Served);
           z. 3/13113@ 10:02,                      (Name ofPerson Served);
           aa. 3/13/13@ 10:25,                       (ZIP Code);
           bb. 3/16/13@ 10:54                         e ofPerson Served);
           cc. 3/16/13 @ 11 :46,                        (Name of Person Served); and
           dd. 3/20/13 @ 11:16,                            arne of Person Served).
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        [30 counts]

                        Charge 12: Electronic Recordkeeping Violations

     12. Respondent violated 6 RCNY § 2-233a(b) by failing to record the following

        information in his 233a records:

            a.   12/3/12@ 11:59,
            b.   12/3112@ 12:29,                                            ity);
            c.   12/3/12@ 12:45,
            d.   12/3112@ 13:19,
            e.   12/5112@ 12:11,
           f. 12/5/12@ 13:55, ·- - - -
           g. 12/7/12@ 9:21,
           h. 12/8/12@ 13:31,
           i. 12/10/12@ 11:53,
           J. 12110112@ 15:44,
           k. 12/11/12@ 11:59,
           1. 12/11/12@ 12:14,
           m. 12111/12@ 12:21,
           n. 12111/12@ 13:04,
           0. 12/11112@ 13:17,
           p. 12/11/12@ 13:28,
           q. 12111112@ 13:42,                           Address);
           r. 12/11112@ 13:52,-         (Street Address);
           s. 12111112@ 14:0L122222222iiilStreet Address);
           t. 3/2113@ 10:24, -            (City);
           u. 3/4/13@ 10:51,-        (City);
           V. 3/8/13@ 10:17,                      );
           w. 3111/13@11:21,
           X. 3/12/13@ 14:38, ~~~~~~~
           y. 3/16/13 @ 12:05,
           z. 3/20/13@ 10:12,
           aa. 3/22/13@ 14:07,
           bb. 3/26/13@ 12:51
           cc. 3/27/13@    12:14l!l!!ll!!ll!!lll!!!!!!!!!!l
           dd. 3/27/13@ 12:14,

        [30 counts]

                           Charge 13: Affidavit of Service Violations

    13. Respondent violated 6 RCNY § 2-234 by failing to include the process serving

        agency's address on at least 10 affidavits of service that he signed. [ 10 counts]


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                               Charges 14-16: Logbook Violations

     14. Respondent violated 6 RCNY § 2-233(b)(l) by failing to create a logbook entry for

        each service or attempted service. [5 counts]

     15. Respondent violated 6 RCNY § 2-233(b)(8) by making improper corrections in his

        logbook. [8 counts]

     16. Respondent violated 6 RCNY § 2-233(b)(3) by failing to include the type of service

        in his logbook entries. [2 counts]

                                       LACK OF FITNESS

     17. By virtue of the activities described above, Respondent violated § 20-101 of the Code

        by failing to maintain the standards of integrity, honesty and fair dealing required of

        licensees.


    WHEREFORE, the Department demands that an order issue: 1) suspending or revoking

    Respondent's license; 2) imposing maximum fines on Respondent for each and every

    charge set forth herein; and 3) granting such other relief as is deemed just and proper.


    Dated: December 23,2013
    New York, New York

                                                  For:    Jonathan Mintz
                                                          Commissioner



                                                  By:

                                                          Senior Staff Attorney
                                                          Legal Division




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                   IMPORTANT INFORMATION FOR RESPONDENTS

     You have been charged with violating Laws and Rules of the New York City
     Department of Consumer Affairs.

     FAILURE TO APPEAR AT THE HEARING: If you do not appear at the DCA
     Adjudication Tribunal on the scheduled hearing date, you will be found guilty of the
     charges, you will be ordered to pay a fine, and your DCA license(s) may be revoked.

    ADJOURNMENTS: Requests for adjournments must be received at least three (3)
    business days prior to the hearing date. You may submit your request by e-mail to
    ~ldjountmentreguests@dca.nyc.gov (preferred method) or by mail to DCA
    Adjudication Trjbunal, 66 John Street, 11th Floor, New York, NY 10038. Make sure to
    include the violation number in your request. In additi~ st send a copy of your
    request to process_server@dca.nyc.gov or by mail to ~ DCA Legal Division,
    42 Broadway, 9th Floor, New York, NY 10004.

    REPRESENTATION: Although it is not required, you may choose to bring a lawyer or
    authorized representative to the hearing.

    TRANSLATION SERVICES: DCA will provide translation services at the hearing for
    you and your witnesses. You may not use your own interpreter at the hearing.

    REASONABLE ACCOMMODATION: If you have a disability and require a reasonable
    accommodation on the day of the hearing, you must send a request, with proof, before the
    hearing date to the Adjudication Tribunal at mycase@dca.nyc.gov or call 311 (212-
    NEW-YORK outside NYC) and ask for "Consumer Affairs Hearing - Reasonable
    Accommodation."

    SETTLEMENTS: If you wish to discuss a possible settlement of the
    Notice    of   Hearing,    you       may      contact
    process_server@dca.nyc.gov at least five (5) business days pnor to the



      For additional information, visit DCA's website at www.nyc.gov/consumers or call311.




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